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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION


 UNITED STATES OF AMERICA,

 vs.                                                Case Number: 17-10003-STA

 BERNARD COOPER


           ORDER GRANTING MOTION TO CONTINUE SENTENCING AND
                         NOTICE OF RESETTING


        THIS MATTER came on to be heard upon the Defendant’s Motion to Continue

 Sentencing and it would appear unto this Court that for good cause said Motion should be

 GRANTED. That this matter is reset to Monday, April 23, 2018 at 9:00 a.m.


        IT IS SO ORDERED,



                                                    s/ S. Thomas Anderson
                                                    CHIEF JUDGE S. THOMAS ANDERSON

                                                    Date: 3/27/2018
